              Case: 1:23-cv-04430 Document #: 52-2 Filed: 10/04/23 Page 1 of 1 PageID #:741
10/3/23, 12:52 PM                                                         Gmail - Welcome to Paro- Onboarding Info




             Grnail                                                                            Luke Kohan <lukekohan5@gmail.com>


  Welcome to Paro- Onboarding Info
  1 message

  Randi Jakubowitz <randi@paro.io>                                                                                    Fri, Oct 2, 2020 at 1:41 PM
  To: lukekohan5@gmail.com
  Cc: Michael Graham <mgraham@paro.io>, Jon Repka <jon@paro.io>

     Hi Luke-

    Congrats on your offer & we are thrilled about having you join Paro! In order to get things ready for
    you, can you please take a few minutes to sign off on the following items:

             • Your offer letter will be delivered shortly to your ·emafl via Hellosign for review & signature
               (it may come from Michael Burdick, our CE.O_)
             • Please electronically sign our Non-disclosure & innovations agreement (click the link and it will take
               you to the appropriate page to sign).
             • We will need for you to electronically sign Para's Employee Handbook (click the link and it will take you to
               the appropriate page to sign).
             • Please complete this Electronic Onboarding Form so we can get you set up in the payroll & benefit
               systems

    Attached is the benefit guide. If you start on 10/19, your benefits will start on 11 /1.

    Please let us know if you would like to pick up your computer from our River North office or if you
    would like us to ship this to you. If shipped, please confirm the address where you would like this
    sent.

     Let me know if you have any questions.

     Best,
     Randi




     RA DI JAKUBOWiTZ                                                                            VP, People
     Pronouns: she, her, hers                                                                  p 914 263 4425



     n PARO                                                                                 Dr.Jim
      ~ 4.1.2020 Paro Benefit Guide (1) (1) (1).pdf
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